
17 So.3d 368 (2009)
STATE ex rel. Richard JORDAN
v.
STATE of Louisiana.
No. 2008-KH-2411.
Supreme Court of Louisiana.
August 12, 2009.
*369 Denied. Untimely, non-cognizable, and repetitive. La.C.Cr.P. art. 930.8; State ex rel Glover v. State, 93-2330 (La.9/5/95), 660 So.2d 1189; State v. Parker, 98-0256 (La.5/8/98), 711 So.2d 694; La.C.Cr.P. art. 930.3; State ex rel. Melinie v. State, 93-1380 (La.1/12/96), 665 So.2d 1172; cf. La. C.Cr.P. art. 930.4(D).
